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                       UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF NEBRASKA
                                OMAHA DIVISION

 In Re

 Kathleen M. Johnson, aka                         Case No. 13-82458-TLS
 Kathleen Magdaline Johnson, aka
 Kathy Johnson,                                   Chapter 13
          Debtor.
                                                  MOTION FOR RELIEF FROM THE
 LSF8 Master Participation Trust, by              AUTOMATIC STAY
 Caliber Home Loans, Inc., solely in its
 capacity as servicer,                            MOTION WAIVES 30 DAY HEARING
          Movant.
                                                  Kozeny & McCubbin, LC
 v.                                               12400 Olive Blvd., Suite 555
                                                  St. Louis, MO 63141
 Kathleen M. Johnson, aka                         nebk@km-law.com
 Kathleen Magdaline Johnson, aka
 Kathy Johnson,
          Debtor,

 Charles Johnson,
          Co-Debtor,

 and

 Kathleen Laughlin, Trustee.
          Respondents.

      MOTION FOR RELIEF FROM AUTOMATIC STAY AND FROM THE CO-DEBTOR
                           STAY (REAL PROPERTY)

                                  COUNT I
                (MOTION FOR RELIEF FROM THE AUTOMATIC STAY)

              LSF8 Master Participation Trust, by Caliber Home Loans, Inc., solely in its

capacity as servicer (“Movant”) hereby moves this Court, pursuant to 11 U.S.C. § 362,

for relief from the automatic stay with respect to certain real property of the Debtor

having an address of 13615 Boyd Strent, Omaha, NE 68164 (the “Property”). In further


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support of this Motion, Movant respectfully states:

       1.     A petition under Chapter 13 of the United States Bankruptcy Code was

filed with respect to the Debtor on November 22, 2013. The Court has jurisdiction over

this matter pursuant to 28 U.S.C. Sections 151, 157 and 1334 and NEGenR 1.5(a). This

is a core proceeding pursuant to 28 U.S.C. Section 157(b)(2). Venue is proper in this

District under 28 U.S.C. Section 1409(a).

       2.     A Chapter 13 Plan was confirmed on February 18, 2014.

       3.     The Debtor, Kathleen Johnson, and Co-Debtor, Charles Johnson, have

executed and delivered that certain promissory note in the original amount of

$245,741.97 (the “Note”). A copy of the note is attached hereto as Exhibit 1. Movant is

an entity entitled to enforce the Note.

       4.     Pursuant to that certain Deed of Trust (the “Deed of Trust”), all obligations

(collectively, the “Obligations”) of the Debtor under the Note and Deed of Trust with

respect to the Loan are secured by the Property. A copy of the Deed of Trust is

attached hereto as Exhibit 2.

       5.     The legal description of the Property is set forth in the Deed of Trust, a

copy of which is attached hereto, and such description is incorporated and made a part

hereof by reference.

       6.     As of February 17, 2015, the outstanding Obligations are:




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   Unpaid Principal Balance                                              $198,844.56
   Unpaid, Accrued Interest                                                $2,006.45
   Uncollected Late Charges                                                    $0.00
   Deferred Amounts                                                       $74,618.58
   Taxes and Insurance Payments on                                             $0.00
   behalf of Debtor(s)
   Other Costs                                                            $43,296.94
   Less: Partial Payments                                                     ($0.00)
   Minimum Outstanding Obligations                                       $318,766.53

       7.    In addition to the other amounts due to Movant reflected in this Motion, as

of the date hereof, in connection with seeking the relief requested in this Motion, Movant

has also incurred $850.00 in legal fees and $176.00 in costs. Movant reserves all rights

to seek an award of allowance of such fees and expenses in accordance with applicable

loan documents and related agreements, the Bankruptcy Code and other applicable

law.

       8.    The following chart sets forth the number and amount of postpetition

payments due pursuant to the terms of the Note that have been missed by the Debtor

as of February 17, 2015:

   Number of            From               To             Monthly          Total Amounts
   Payments                                              Payment              Delinquent
                                                          Amount
        2            12/28/2014     01/28/2015          $2,342.27              $4,684.54
                                Less postpetition partial payments:               ($4.40)
                                                              Total:           $4,680.14

       9.    A postpetition payment history is attached hereto as Exhibit 3.

       10.   The fair market value of the Property is $198,500.00. The basis for such

valuation is Schedule A of the Debtor`s Schedules. A copy of Schedule A is attached




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hereto as Exhibit 4.

        11.   Upon information and belief, the aggregate amount of encumbrances on

the Property listed in the Schedules or otherwise known, including but not limited to the

encumbrances granted to the Movant, is $318,766.53.

        12.   Cause exists for relief from the automatic stay for the following reasons:

              (a)      Movant`s interest in the Property is not adequately protected.

              (b)      Postconfirmation payments required by the confirmed plan have not

been made to Movant.

              (c)      Pursuant to 11 U.S.C. § 362(d)(2)(A), Debtor has no equity in the

Property; and pursuant to § 362(d)(2)(B), the Property is not necessary for an effective

reorganization.

              WHEREFORE, Movant prays that this court issue an Order terminating or

modifying the stay and granting the following:

              1.       Relief from the stay allowing Movant (and any successors or

assigns) to proceed under applicable non-bankruptcy law to enforce its remedies to

foreclose upon and obtain possession of the Property.

              2.       That the Order be binding and effective despite and conversion of

the bankruptcy case to a case under any other chapter of Title 11 of the United States

Code.

              3.       That the 14-day stay described by Bankruptcy Rule 4001(a)(3) be

waived.

              4.       For such other relief as the Court deems proper.



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                                          COUNT II

                    (MOTION FOR RELIEF FROM CO-DEBTOR STAY)

                COMES NOW LSF8 Master Participation Trust, by Caliber Home Loans,

Inc., solely in its capacity as servicer and its principals Successors and Assigns, and for

Count II of its motion, requests relief from the Co-Debtor Stay as to Charles Johnson,

("Co-Debtor") and in support thereof alleges as follows:

       1.       Movant restates and re-alleges all of the allegations contained in Count I

and incorporates them herein by this reference.

       2.       The following chart sets forth the number and amount of postpetition

payments due pursuant to the terms of the Note that have been missed by the Co-

Debtor as of February 17, 2015:

   Number of              From                To            Monthly          Total Amounts
   Payments                                                Payment              Delinquent
                                                            Amount
        2              12/28/2014     01/28/2015          $2,342.27               $4,684.54
                                  Less postpetition partial payments:                ($4.40)
                                                                Total:            $4,680.14

       3.       Pursuant to 11 U.S.C. § 1301(c)(2) and (3), on request of a party in

interest and after notice and hearing, the Court shall grant relief from the Co-Debtor stay

with respect to a creditor, to the extent that the plan filed by the Debtor proposes not to

pay such claim; or such creditor`s interest would be irreparably harmed by continuation

of such stay.

       4.       Movant asserts that Movant will incur irreparable harm by continuation of

the Co-Debtor stay imposed by 11 U.S.C. § 1301, in that the loan is post-petition



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delinquent. As such, grounds exist for granting relief from the Co-Debtor stay as to

Charles Johnson, effective immediately upon entry of the Order.

              WHEREFORE, LSF8 Master Participation Trust, by Caliber Home Loans,

Inc., solely in its capacity as servicer respectfully prays this Court:

       Enter an Order granting relief from the automatic stay, finding that the fourteen

(14) day stay period pursuant to Rule 4001(a)(3) shall be inapplicable; authorizing

Movant to exercise its rights under the Note and Deed of Trust and applicable non-

bankruptcy laws; authorizing Movant to pursue its state court remedies for possession

of the subject real estate; authorizing Movant to at its option, offer, provide and enter

into any potential forbearance agreement, loan modification, refinance agreement or

other loan workout/loss mitigation agreement; authorizing Movant to contact the Debtor

via telephone or written correspondence to offer such an agreement, which shall be

non-recourse unless included in a reaffirmation agreement; and for such other orders as

the Court deems appropriate.



                                             Respectfully submitted,

                                             /s/Jonathon B. Burford
                                             Jonathon B. Burford, #59337
                                             Attorneys for Movant
                                             12400 Olive Blvd., Suite 555
                                             St. Louis, MO 63141
                                             Phone: (314) 991-0255
                                             Fax: (314) 567-8019
                                             nebk@km-law.com




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I certify that a true copy of the Above Pleading was served either electronically or via
first class mail on February 25, 2015, upon the following parties:

Kathleen M. Johnson
Debtor
13615 Boyd St.
Omaha, NE 68164

Charles Johnson
Co-Debtor
13615 Boyd Street
Omaha, NE 68164

Burke Smith
Attorney for Debtor
10730 Pacific Street
Suite 100
Omaha, NE 68114

Kathleen Laughlin
Trustee
13930 Gold Circle, Suite 201
Omaha, NE 68144

Office of the US Trustee
U.S. Trustee
111 South 18th Plaza, Suite 1148
Omaha, NE 68102

/s/ Christina Buck
    Christina Buck




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                               Exhibit 1
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                       Exhibit 2
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                           Post Petition Pay History
                                  Exhibit 3
                                                                      Total
Payment Due                 Date Funds   Amount       Date Funds
            Amount Due                                               Amount      Suspense
   Date                      Received    Received      Applied
                                                                     Applied

  11/28/13   $2,342.27       11/27/13    $2,342.27     11/27/13     $2,342.27         $0.00
  12/28/13   $2,342.57       12/26/13    $2,342.27     12/26/13     $2,342.27         $0.00
  01/28/14   $2,342.57       01/27/14    $2,342.27     01/27/14     $2,342.27         $0.00
  02/28/14   $2,342.57       02/27/14    $2,342.27     02/27/14     $2,342.27         $0.00
  03/28/14   $2,342.57       03/27/14    $2,342.27     03/27/14     $2,342.27         $0.00
  04/28/14   $2,342.57       04/25/14    $2,342.27     04/25/14     $2,342.27         $0.00
  05/28/14   $2,342.57       05/28/14    $2,342.27     05/28/14     $2,342.27         $0.00
                             06/30/14    $1,733.70                                $1,733.70
  06/28/14   $2,342.57       07/28/14    $1,767.15     07/28/14     $2,342.27     $1,158.58
  07/28/14   $2,342.57       08/26/14    $1,767.15     08/26/14     $2,342.27       $583.46
  08/28/14   $2,342.27       09/30/14    $1,767.15     09/30/14     $2,342.27         $8.34
                             10/28/14    $1,755.26                                $1,763.60
  09/28/14   $2,342.27       11/17/14    $1,755.87     11/17/14     $2,342.27     $1,177.20
  10/28/14   $2,342.27       12/22/17    $1,755.87     12/22/14     $2,342.27       $590.80
  11/28/14   $2,342.27       01/26/15    $1,755.87                  $2,342.27         $4.40
  12/28/14   $2,342.27         Due                                                    $4.40
  01/28/15   $2,342.27         Due                                                    $4.40
                                                                                      $4.40
                                                                                      $4.40
                                                                                      $4.40
   Totals    $35,136.45                  $30,453.91                 $30,449.51      $590.80
                                                                                                                    Exhibit 4
                                                                              Case
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                                                                     IN RE Johnson, Kathleen M.                                                                                              Case No. 8:13-bk-82458
                                                                                                                                Debtor(s)                                                                                                    (If known)

                                                                                                                                SCHEDULE A - REAL PROPERTY
                                                                        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a cotenant, community
                                                                     property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor’s own benefit. If the debtor is
                                                                     married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint,
                                                                     or Community.” If the debtor holds no interest in real property, write “None” under “Description and Location of Property.”

                                                                       Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to hold a secured
                                                                     interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                       If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.




                                                                                                                                                                                             HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                OR COMMUNITY
                                                                                                                                                                                                                       CURRENT VALUE OF
                                                                                                                                                                                                                      DEBTOR'S INTEREST IN
                                                                                                                                                                   NATURE OF DEBTOR'S                                  PROPERTY WITHOUT        AMOUNT OF SECURED
                                                                                             DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                                                                  INTEREST IN PROPERTY                                   DEDUCTING ANY              CLAIM
                                                                                                                                                                                                                       SECURED CLAIM OR
                                                                                                                                                                                                                           EXEMPTION



                                                                     Residence located at 13615 Boyd Street, Omaha, Nebraska                                                                                                 198,500.00               245,000.00
                                                                     68164
                                                                     Valuation based on assessed value
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                                                                     Legal Description per Douglas County Assessor: Hillsborough
                                                                     Lot 213 Block 0 65x125
                                                                     Property is jointly owned by Debtor and her Non-Filing Spouse




                                                                                                                                                                                      TOTAL                                  198,500.00
                                                                                                                                                                                                                     (Report also on Summary of Schedules)
